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                 Exhibit E
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                                      Financial
                                      Valuation
                             Applications and Models
                                              Fourth Edition
                                               with Website




                           James R. Hitchner
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                                                                             Preface


        I t’s hard to believe that almost 14 years have passed since we published the first edi-
          tion of Financial Valuation: Applications and Models (FVAM). When I started this
        book, it was my intention to design it to accomplish two main goals. The first and
        most obvious one was to gather a group of respected valuation practitioners from
        all over the country and from the various valuation and appraisal associations to
        coauthor a text on valuation and to have a consensus view and presentation. Given
        the strong personalities of the authors, this was no easy task. As one of my coauthors
        said to me in the beginning, “Jim, what you are doing is equivalent to trying to herd
        cats.” Well, he was right. However, I believe we met this goal in all three editions,
        and I credit my coauthors in their willingness to be open-minded and to change their
        opinions when a better way was presented.
              My second goal was to use this text and the companion Financial Valuation
        Workbook for business valuation education. Both texts are the foundation for
        the American Institute of Certified Public Accountants (AICPA) five-day National
        Business Valuation School, which is offered around the country, and the National
        Association of Certified Valuation Analysts (NACVA) three-day Advanced Valua-
        tion: Applications and Models course, also offered around the country. I want to
        thank all the instructors and staff of both organizations. What a wonderful group of
        people to work and consult with.
              FVAM is an all-encompassing valuation text that presents the application of
        financial valuation theory in an easily understood manner. Although valuation theory
        is thoroughly discussed, the focus is on applications, models, and methods. FVAM
        contains numerous examples and methods that will assist the reader in navigating
        a valuation project, along with hundreds of short, easily understandable “ValTips.”
        These ValTips alert the reader to important and often controversial issues.
              We have assembled 30 highly visible and well-respected valuation professionals
        to discuss and agree upon the proper methods of valuation and to collectively present
        the group’s views and positions on business valuation concepts and, most important,
        applications. Each author is the coauthor of the entire book. The authors come from
        all over the United States and Canada and are members of many professional valu-
        ation and financial associations, including the American Institute of Certified Public
        Accountants (AICPA), the American Society of Appraisers (ASA), the CFA Institute,
        the Institute of Business Appraisers (IBA), and the National Association of Certified
        Valuators and Analysts (NACVA). Many hold multiple designations or certifications:

            ■■ 20 Accredited in Business Valuation (ABV) with the AICPA
            ■■ 18 Accredited Senior Appraisers (ASA) with the ASA
            ■■ 2 Certified Business Appraisers (CBA) with the IBA

            ■■ 4 Chartered Financial Analysts (CFA) with the CFA Institute




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          ■■ 3 Certified Fraud Examiners (CFE) with the ACFE
          ■■ 15 Certified in Financial Forensics (CFF) with the AICPA
          ■■ 21 Certified Public Accountants (CPA)

          ■■ 10 Certified Valuation Analysts (CVA) with the NACVA

          ■■ 4 Chartered Global Management Accountants (CGMA)

          ■■ 1 Canadian Institute of Chartered Business Valuators (CICBV)


             Collectively, they have several hundred years of valuation and related financial
        experience. This text is the first time such a large group of diverse valuation practitioners
        has been assembled to agree on the application of valuation principles and methods.
        There is no other text like this. Given the often judgmental nature of valuation and the
        strong opinions that seem to go with being a valuation analyst, this was no easy task.
        We hope we continue to advance the profession by providing our agreed-upon views.
        We invite other practitioners to comment on this edition and/or assist in future editions
        of this book. We will never gain consensus in everything in the valuation profession;
        however, we do hope to shorten the long list of controversies and disagreements. This
        text represents the state-of-the-art in the business valuation profession as it evolves.
        This book includes basic, intermediate, and advanced topics, including:
          ■■ Cost of capital
          ■■ Discounts and premiums
          ■■ Shareholder disputes

          ■■ Mergers and acquisitions

          ■■ S corporations

          ■■ Advanced company risk analysis

          ■■ Income, estate, and gift taxes

          ■■ Marital dissolution

          ■■ Employee stock ownership plans (ESOPs)

          ■■ Financial reporting

          ■■ Family limited partnerships

          ■■ Healthcare and other industries

          ■■ Intellectual property

          ■■ Commercial damages

          ■■ High-tech issues

          ■■ Reasonable compensation


           FVAM is targeted to the following professionals and groups, who are typically
        exposed to financial valuation issues:
          ■■ Appraisal associations and societies
          ■■ Appraisers
          ■■ Actuaries

          ■■ Attorneys

          ■■ Bankers
          ■■ Business brokers

          ■■ Business executives, including CEOs, CFOs, and tax directors

          ■■ Business owners

          ■■ CPAs

          ■■ Estate and gift planners

          ■■ Financial analysts

          ■■ Government agencies, including the IRS, SEC, DOL, OIG, and DOJ
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          ■■ Insurance agents
          ■■ Investment advisors
          ■■ Investment bankers

          ■■ Judges

          ■■ Pension administrators

          ■■ Professors

          ■■ Stockbrokers


               Some chapter highlights include:

               Chapter 6, Cost of Capital/Rates of Return, has been greatly expanded and includes
                  new thinking and research on risk premiums, beta, and data sources. It also
                  includes a section titled “20 Ways to Calculate the Cost of Equity Capital.”
               Chapter 7, International Cost of Capital, is a completely new chapter that delves
                  deeply into the various methods and data sources used in the valuation of
                  companies outside the U.S.
               Chapter 8, Market Approach, has been updated and includes new thoughts on
                  the use of transaction databases.
               Chapter 10, Valuation Discounts and Premiums, expands on discounts, includ-
                  ing new quantitative models for discounts for lack of marketability. It also
                  includes a new method for using restricted stock transaction data.
               Chapter 11, Report Writing, includes a new valuation report that is in compli-
                  ance with the business valuation standards of the AICPA (SSVS), ASA, IBA,
                  NACVA, and USPAP.
               Chapter 12, Business Valuation Standards, has been updated to include the use
                  of calculation engagements and calculation reports.
               Chapter 13, Pass-Through Entities, has been updated and expanded to include
                  the use of the discount rate to capture value in a pass-through entity.
               Chapter 22, Reasonable Compensation, is a completely new chapter that pres-
                  ents the methods, models, and tools to determine reasonable compensation.
               Chapter 26, Business Damages, has been rewritten and expanded.
               Chapter 29, Healthcare Compensation, is a completely new chapter devoted to
                  calculation of fair market compensation.
               Chapter 31, Valuation Views, has been completely rewritten and includes a
                  detailed case study and report that delves into controversial issues.

             This book also includes a companion website, which can be found at www
        .wiley.com/go/FVAM4E, which includes additional chapter addendums referenced
        throughout the book.
             Financial valuations are very much affected by specific facts and circumstances.
        Consequently, the views expressed in these written materials do not necessarily
        reflect the professional opinions or positions that the authors would take in every
        business valuation assignment or in providing business valuation services in connec-
        tion with an actual litigation matter. Every situation is unique, and differing facts and
        circumstances may result in variations of the applied methodologies. Furthermore,
        valuation theory, applications, and methods are continually evolving and at a later
        date may be different than what is presented here. Nothing contained in these writ-
        ten materials shall be construed as the rendering of valuation advice, the rendering of
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        a valuation opinion, the rendering of an opinion of a particular valuation position,
        or the rendering of any other professional opinion or service. Business valuation
        services are necessarily fact-sensitive, particularly in a litigation context. Therefore,
        the authors urge readers to apply their expertise to particular valuation fact patterns
        that they encounter, or to seek competent professional assistance as warranted in the
        circumstances. Jim Alerding, Rosanne Aumiller, Jeff Balcombe, Neil Beaton, Melissa
        Bizyak, Marcie Bour, Jim Budyak, Carol Carden, Stacy Collins, Larry Cook, Don
        Drysdale, Ed Dupke, Jay Fishman, Chris Hamilton, Tom Hilton, Jim Hitchner, Vince
        Kickirillo, Mark Kucik, Eva Lang, Harold Martin, Ed Moran, Ray Moran, Kate
        Morris, Shannon Pratt, Ron Seigneur, Stacey Udell, Sam Wessinger, Richard Wise,
        Don Wisehart, Kevin Yeanoplos.



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          Financial Statement and Company Risk Analysis                                                                           87


      Exhibit 4.4   Ale’s Distributing Company, Inc.—Balance Sheet Pre-Normalization Adjustments

                                                          12/31/X5           12/31/X4           12/31/X3          12/31/X2       12/31/X1
      Assets
       Current Assets
        Cash                       $            0 $                0 $                0 $            0 $            0
        Accounts Receivable                     0                  0                  0              0              0
        Inventory                       (100,000)          (100,000)          (100,000)      (100,000)      (100,000)
        Other Current Assets
         Prepaid Expenses                       0                  0                  0              0              0
        Total Other Current Assets              0                  0                  0              0              0
       Total Current Assets             (100,000)          (100,000)          (100,000)      (100,000)      (100,000)
       Fixed Assets—Net
        Fixed Assets—Cost                       0                  0                  0              0              0
        Accumulated Depreciation                0                  0                  0              0              0
       Total Fixed Assets—Net                   0                  0                  0              0              0

       Other Assets
        Marketable Securities             (1,400,000)             (1,200,000)       (1,100,000)       (1,000,000)       (900,000)
       Total Other Assets                 (1,400,000)             (1,200,000)      (1,100,000)       (1,000,000)       (900,000)
      Total Assets                       $(1,500,000) $(1,300,000) $(1,200,000) $(1,100,000) $(1,000,000)

      Liabilities and Equity
       Liabilities
        Current Liabilities
         Accounts Payable                $                      0 $                0 $                0 $               0 $             0
         Other Current Liabilities
          Customer Deposits                                     0                  0                  0                 0               0
           Accrued Expenses                                     0                  0                  0                 0               0
         Total Other Current
           Liabilities                                          0                  0                  0                 0               0
           Total Current Liabilities                            0                  0                  0                 0               0
           Long-Term Liabilities                                0                  0                  0                 0               0
       Total Liabilities                                        0                  0                  0                 0               0

       Equity
        Common Stock                               0                 0                0                 0                 0
        Additional Paid-In Capital                 0                 0                0                 0                 0
        Retained Earnings                (1,500,000)       (1,300,000)      (1,200,000)      (1,100,000)       (1,000,000)
       Total Equity                      (1,500,000)      (1,300,000)       (1,200,000)       (1,100,000)       (1,000,000)
      Total Liabilities and Equity       (1,500,000) $(1,300,000) $(1,200,000) $(1,100,000) $(1,000,000)



              Exhibits 4.4 and 4.5, and Exhibits 4.7 and 4.8 differ only in that Exhibits 4.5
          and 4.8 include a normalization adjustment restating the fixed assets to fair market
          value. Exhibits 4.4 and 4.7 do not include this adjustment, particularly when valu-
          ing a minority interest. Many analysts do not adjust fixed assets to fair market value
          since industry and guideline company benchmark data do not usually reflect such
          an adjustment. As such, adjusting the subject company would make comparisons to
          the guideline or industry data difficult. Other analysts think that making the adjust-
          ment results in a better comparison over the historical period analyzed and reflects
          what a control buyer’s initial balance sheet would look like. The decision to make
          the adjustment is at the discretion of the analyst. Both methods are presented here.
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      Exhibit 4.5    Ale’s Distributing Company, Inc.—Balance Sheet Normalization Adjustments (Fixed Assets at FMV)
                                                12/31/X5      12/31/X4       12/31/X3      12/31/X2     12/31/X1
      Assets
       Current Assets
         Cash                               $           0 $       0 $         0 $         0 $       0
         Accounts Receivable                            0         0           0           0         0
        Inventory2                              (100,000) (100,000)   (100,000)   (100,000) (100,000)
        Other Current Assets
         Prepaid Expenses                               0             0              0             0               0
      Total Other Current Assets                        0             0              0             0               0
       Total Current Assets                     (100,000)     (100,000)      (100,000)     (100,000)       (100,000)
       Fixed Assets—FMV
        Fixed Assets—Cost3                      2,178,600     1,970,900      1,958,200     2,065,900 1,969,100
         Accumulated Depreciation                       0             0              0             0         0
       Total Fixed Assets—Net                   2,178,600     1,970,900      1,958,200     2,065,900 1,969,100

       Other Assets
        Marketable Securities1              (1,400,000) (1,200,000) (1,100,000) (1,000,000)              (900,000)
       Total Other Assets                   (1,400,000) (1,200,000) (1,100,000) (1,000,000)              (900,000)
      Total Assets                          $ 678,600 $ 670,900 $ 758,200 $ 965,900 $ 969,100

      Liabilities and Equity
       Liabilities
        Current Liabilities
         Accounts Payable                 $             0 $            0 $           0 $            0 $           0
         Other Current Liabilities
          Customer Deposits                             0              0             0              0             0
          Accrued Expenses                              0              0             0              0             0
          Total Other Current Liabilities               0              0             0              0             0
         Total Current Liabilities                      0              0             0              0             0
        Long-Term Liabilities                           0              0             0              0             0
       Total Liabilities                                0              0             0              0             0
       Equity
        Common Stock                                0         0         0         0          0
         Additional Paid-In Capital                 0         0         0         0          0
        Retained Earnings                     678,600   670,900   758,200   965,900    969,100
       Total Equity                           678,600   670,900   758,200   965,900    969,100
      Total Liabilities and Equity          $ 678,600 $ 670,900 $ 758,200 $ 965,900 $ 969,100

      Normalization Adjustments—Balance Sheet:
      • Unusual and Nonrecurring Items
        None
      1. Nonoperating Items
         Based upon analytical review, including comparisons to financial ratio benchmark data, it was determined
         that the Company has excess marketable securities that exceed the Company’s working capital requirements.
      2. Nonconformance with GAAP
         Based upon discussions with management, it was discovered that the Company has not properly written off
         obsolete inventory.
      3. Control Adjustment
         Based upon appraisals of the Company’s land, buildings, and fixed assets, an adjustment has been made to
         restate the Company’s fixed assets to reflect their fair market value. Note: Some analysts do not make this
         adjustment for comparison purposes since the benchmark data that subject companies are compared to do not
         usually have this adjustment made. This is a decision each analyst must make. Also, some analysts make tax
         adjustments to the asset values.


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         Financial Statement and Company Risk Analysis                                      97


         RATIO ANALYSIS (QUANTITATIVE ANALYSIS)

         Ratio analysis is perhaps the most commonly used tool in financial analysis. Finan-
         cial ratios allow the analyst to assess and analyze the strengths and weaknesses of a
         given company with regard to such measures as liquidity, performance, profitability,
         leverage, and growth on an absolute basis and by comparison to other companies
         in its industry or to an industry standard. Common financial ratios, a discussion of
         their use, and the application to Ale’s Distributing may be found in the addendum at
         the end of this chapter.
              Two common types of ratio analyses exist: time-series analysis and cross-sec-
         tional analysis. Time-series analysis (commonly known as trend analysis) compares
         the company’s ratios over a specified historical time period and identifies trends that
         might indicate financial performance improvement or deterioration.
              Cross-sectional analysis compares a specified company’s ratios to other compa-
         nies or to industry standards/norms. It is most useful when the companies analyzed
         are reasonably comparable—that is, business type, revenue size, product mix, degree
         of diversification, asset size, capital structure, markets served, geographic location,
         and the use of similar accounting methods. When some of these items are unknown,
         some analysts will still make general comparisons. It is important to exercise profes-
         sional judgment in determining which ratios to select in analyzing a given company.
              Most finance textbooks calculate activity ratios and rate of return ratios based
         on average beginning- and ending-year balances. However, some benchmark data,
         including Risk Management Association (RMA), report ratios based only on a year-
         end balance.


                      ValTip


                The valuation report should provide reasonable commentary regarding
                methods and ratios chosen and results of the analysis.




             Exhibit 4.13 presents ratios prepared with average balance sheet data with fixed
         assets at historical costs. Exhibit 4.14 includes a comparison to RMA-type data; thus
         Ale’s ratios are computed year-end, again using historical costs for the fixed assets.
         Exhibit 4.14 is used in the detailed ratio analysis appended to this chapter. Exhibit
         4.15 presents the ratios using average balance sheet amounts with the adjustment
         restating the fixed assets to fair market value.


                       ValTip


                  Analysts should not mix year-end data with beginning- and ending-
                  year average data when preparing comparisons of the subject company
                  to industry benchmark data and ratios.
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         98                                                                              Financial Valuation


        Exhibit 4.13    Ale’s Distributing Company, Inc.—Comparative Ratio Analysis
                        (Ratios Computed on Averages; Fixed Assets at Cost)

                                                12/31/X5 12/31/X4 12/31/X3                12/31/X2       12/31/X1

        Liquidity Ratios
         Current Ratio                              6.5          6.3           5.2           5.0           4.3
         Quick (Acid-Test) Ratio                    3.9          3.8           3.0           2.7           2.5
        Activity Ratios
         Accounts Receivable Turnover             21.0          25.4         32.1           39.3           N/A
         Days Outstanding in A/R                  17.4          14.4         11.4            9.3           N/A
         Inventory Turnover                       13.9          15.1         16.5           20.0           N/A
         Sales to Net Working Capital              8.6           9.4         11.2           13.4           N/A
         Total Asset Turnover                      4.7           4.8          5.3            5.8           N/A
         Fixed Asset Turnover                     13.2          12.3         12.9           13.2           N/A
        Leverage Ratios
         Total Debt to Total Assets                 0.5          0.5           0.5           0.5           0.5
         Total Equity to Total Assets               0.5          0.5           0.5           0.5           0.5
         Long-Term Debt to Equity                   0.6          0.6           0.6           0.7           0.7
         Total Debt to Equity                       0.8          0.8           0.9           0.9           0.9
        Profitability Ratios
         Gross Profit Margin                      25.6%         25.7%        25.4%          25.6%        26.1%
         Operating Profit Margin                   3.7%          3.0%         2.9%           2.5%         4.5%
        Rate of Return Ratios
         Return on Average Equity                 20.3%         16.9%        20.7%          17.1%          N/A
         Return on Average Investment             14.4%         12.3%        14.5%          12.3%          N/A
         Return on Average Total Assets           12.9%         11.0%        12.8%          10.8%          N/A
        Growth Rates (Cumulative)
         Sales—Avg. Growth                         3.68%        2.50%         3.33%         5.00%          N/A
         Sales—CAGR                                3.64%        2.48%         3.31%         5.00%          N/A
         Gross Profit—Avg. Growth                  3.09%        1.84%         1.90%         2.61%          N/A
         Gross Profit—CAGR                         3.07%        1.83%         1.90%         2.61%          N/A
         Operating Profit—Avg. Growth              3.69%       −6.18%       −10.73%       −41.39%          N/A
         Operating Profit—CAGR                    −0.91%      −10.23%       −16.16%       −41.39%          N/A


        Financial Ratios based on Normalized Historical Balance Sheets and Normalized Historical Income Statements.
        Activity and Rate of Return Ratios are calculated using average end of year balance sheet values and historical
        fixed asset values.



         COMPARATIVE ANALYSIS

         Comparative analysis is a valuable tool for highlighting differences between the sub-
         ject company’s historical performance and industry averages, pointing out relative
         operating strengths and weaknesses of the subject company as compared to its peers,
         assessing management effectiveness, and identifying areas where the company is out-
         performing or underperforming the industry.
              Comparative analysis is performed by comparing the ratios of the subject com-
         pany to industry ratios taken from commonly accepted sources of comparative finan-
         cial data.
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           Financial Statement and Company Risk Analysis                                                           101


           clients have access to benchmark survey data for their particular industry and can
           share the publication with the analyst.

                           ValTip


                     To use benchmark industry ratios appropriately, analysts must be fa-
                     miliar with their scope and limitations as well as with the differences
                     among them regarding data presentation and computation methods.


                Exhibits 4.16, 4.17, and 4.18 present comparative balance sheets and income
           statements for the same five-year period. Exhibit 4.17 includes the restatement of the
           fixed assets to fair market value.

      Exhibit 4.16     Ale’s Distributing Company, Inc.—Comparative Balance Sheets (Fixed Assets at Cost)*

                                             RMA        12/31/X5 12/31/X4 12/31/X3 12/31/X2 12/31/X1
      Assets
       Current Assets
        Cash & Equivalents                    11.6%        16.3%         16.9%         18.0%          14.8%         18.3%
        Accounts Receivable                   10.9%        23.8%         20.5%         16.8%          16.1%         13.5%
        Inventory                             19.7%        26.0%         23.9%         23.0%          24.8%         18.4%
        Other Current Assets                   2.7%         0.7%          1.2%          2.1%           1.9%          3.2%
       Total Current Assets                   44.9%        66.8%         62.5%         59.9%          57.6%         53.4%
       Fixed Assets (Cost)—Net                23.8%        33.1%         37.6%         40.0%          42.4%         46.6%
       Intangibles—Net                        20.4%         0.0%          0.0%          0.0%           0.0%          0.0%
       Other Non-Current Assets               10.9%         0.0%          0.0%          0.0%           0.0%          0.0%
      Total Assets                         100.0%        100.0%         100.0%        100.0%        100.0%        100.0%
      Liabilities and Equity
       Liabilities
        Current Liabilities
         Accounts Payable                     10.9%         2.8%           2.0%         3.2%           2.1%          4.0%
         Short-Term Notes Payable              7.4%         0.0%           0.0%         0.0%           0.0%          0.0%
         Current Maturity LT Debt              4.4%         0.0%           0.0%         0.0%           0.0%          0.0%
        Other Current Liabilities              8.4%         7.6%           8.0%         8.3%           9.4%          8.5%
       Total Current Liabilities              31.1%        10.3%           9.9%        11.5%          11.5%         12.5%
       Long-Term Liabilities           25.8%               35.2%         35.3%         35.2%          36.2%         35.5%
       Other Non-Current Liabilities    3.7%                0.0%          0.0%          0.0%           0.0%          0.0%
       Total Liabilities                      60.6%        45.6%         45.2%         46.8%          47.7%         47.9%
       Total Equity                           39.4%        54.4%         54.8%         53.2%          52.3%         52.1%
      Total Liabilities and Equity         100.0%        100.0%         100.0%        100.0%        100.0%        100.0%

      * Numbers may not add due to rounding.
      Percentages based on Normalized Historical Balance Sheets.
      Subject SIC Code = 5181 (Beer & Ale). Note: RMA data are for illustration only. Assume data are as of the valuation date.
      RMA Code = 5181 (Beer & Ale)—$25MM and Over Sales Median Ratios.
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         ADDENDUM 1—COMMONLY USED FINANCIAL RATIOS: APPLICATION
         TO ALE’S DISTRIBUTING

         This section is neither a comprehensive presentation of all available ratios nor a list
         of ratios that must be utilized on every valuation engagement. The analyst must use
         informed judgment to determine which ratios are appropriate for a given valuation
         engagement. These are examples of some of the more common ratios.
             Many analysts recommend the use of beginning-year and ending-year averages
         when computing the denominator of such ratios as inventory turnover, sales to net
         working capital, and sales to total assets. That is how these ratios are presented and
         explained below. In the analysis of Ale’s, we also have used year-end balance sheet
         amounts, since that is how the comparative data, RMA, are presented.

         Liquidity Ratios
         Liquidity ratios measure a company’s ability to meet short-term obligations with
         short-term assets. These ratios also help identify an excess or shortfall of current assets
         necessary to meet operating expenses.

         Current Ratio
                                               Current Assets
                                              Current Liabilities

              The current ratio is the most commonly used liquidity ratio. Normally, the
         current ratio of the subject company is compared to industry averages to gain
         insight into the company’s ability to cover its current obligations with its current
         asset base.

         Quick (Acid-Test) Ratio

              Cash + Cash Equivalents + Short-Term Investments + Accounts Receivable
                                         Current Liabilities

              The quick ratio is a more conservative ratio in that it measures the company’s
         ability to meet current obligations with only those assets that can be readily liquidated.
         As with the current ratio, industry norms generally serve as the base for drawing
         analytical conclusions.

         Application to Ale’s The liquidity ratios for Ale’s have been steadily increasing
         during the five-year period analyzed. Ale’s current ratio has increased from 4.3 at
         December 31, 20X1, to 6.5 at December 31, 20X5. Ale’s quick ratio has increased
         from 2.5 at December 31, 20X1, to 3.9 at December 31, 20X5. The median current
         and quick ratios for comparable companies within the industry were 1.4 and 0.6,
         respectively. Thus, it appears the company is in a much stronger financial position to
         meet its current obligations as compared to its industry peers. It also indicates that
         Ale’s is less leveraged (current liabilities) than its peer group.
